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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                 NORFOLK DIVISION

 INTELLIGENT VERIFICATION            )
 SYSTEMS, LLC,                       )
                                     )
                   Plaintiff,        )
 v.                                  )
                                     )                 Civil Action No. 2:12-cv-525-AWA-LRL
 MICROSOFT CORPORATION, and          )
 MAJESCO ENTERTAINMENT CO.,          )
                   Defendants.       )
 ____________________________________)



    MEMORANDUM IN SUPPORT OF PLAINTIFF’S REQUEST FOR ATTORNEYS’
       FEES IN CONNECTION WITH MOTION TO COMPEL MICROSOFT
    CORPORATION’S RESPONSE TO INTELLIGENT VERIFICATION SYSTEMS,
                    LLC’S INTERROGATORY NO. 10


        Plaintiff Intelligent Verification Systems (“IVS”) respectfully submits this brief in

 support of its Request for Attorneys’ Fees in Connection with its Motion to Compel Microsoft

 Corporation’s Response to Intelligent Verification Systems, LLC’s Interrogatory No. 10.

        On June 30, 2014, the Court granted IVS’s Motion to Compel Microsoft Corporation’s

 Response to IVS’s Interrogatory No. 10, and pursuant to Federal Rule of Civil Procedure

 37(a)(5), granted IVS’s request for attorneys’ fees and costs in connection with the motion. The

 Court ordered IVS to file an affidavit substantiating its costs and fees pursuant to the factors in

 Robinson v. Equifax Servs., LLC, 560 F.3d 235, 243-44 (4th Cir. 2009). On July 29, 2014, the

 Court issued an Order considering the original Declaration submitted by IVS in support of its

 request for attorneys’ fees. The Court denied IVS’ request for attorneys’ fees without prejudice

 and gave IVS the opportunity to refile the request and submit additional evidence within twenty

 (20) days from the date of the Order. IVS hereby refiles the Request for Attorneys’ Fees in


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 Connection with IVS’s Motion to Compel Microsoft Corporation’s Response to IVS’s

 Interrogatory No. 10, and IVS also files three (3) Declarations and additional external data in

 support of this refiled request. This Memorandum supports IVS’s refiled request.

        The Fourth Circuit follows the twelve Robinson factors to determine what constitutes a

 reasonable number of hours and rate in a request for attorneys’ fees. These factors are:

        (1) the time and labor expended; (2) the novelty and difficulty of the questions
        raised; (3) the skill required to properly perform the legal services rendered; (4)
        the attorney’s opportunity costs in pressing the instant litigation; (5) the
        customary fee for like work; (6) the attorney’s expectations at the outset of the
        litigation; (7) the time limitations imposed by the client or circumstances; (8) the
        amount in controversy and the results obtained; (9) the experience, reputation and
        ability of the attorney; (10) the undesirability of the case within the legal
        community in which the suit arose; (11) the nature and length of the professional
        relationship between attorney and client; and (12) attorneys’ fees awards in
        similar cases.

 Id. at 243-44 (citation omitted).

        In its July 29, 2014 Order, the Court found that factors (4), (6), (7), (8), (10) and (11) are

 not particularly applicable to this case. Of the remaining factors, the Court found that IVS’s

 proffer was deficient on factors (5), (9) and (12). The three declarations filed with this refiled

 request, along with this Memorandum in support with the refiled request, cures all the

 deficiencies in factors (5), (9) and (12) of Robinson. This Memorandum addresses each of these

 three Robinson factors in turn.

 Factor 5: Customary Fee for Like Work

        To sufficiently support the factor of the customary fee for like work, Robinson requires

 that the fee applicant “produce satisfactory specific evidence of the prevailing market rates in the

 relevant community for the type of work for which he seeks an award.” Id. at 244.

        To support this factor, IVS first submits Declarations of Quentin R. Corrie and Michael

 B. Marion, the two attorneys requesting fees associated with the motion to compel. These

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 declarations proffer that the hourly fees requested by the fee applicants are reasonable.

 Additionally, the Declaration of Quentin R. Corrie provides an explanation of his lower

 requested hourly billing rate with respect to the hourly billing rate of Michael B. Marion.

          IVS also submits specific evidence of the ranges of hourly rates of complex civil

 litigation attorneys in Northern Virginia in the form of the Vienna Metro matrix, reproduced

 below:

                        2011 Range of Hourly Rates in Northern Virginia

     Paralegal             Years of Experience          1-3        4-7      8-10     11-19      20+
     $130-350                 Hourly Rate              $250-      $350-    $465-     $520-     $505-
                                                        435        600      640       770       820

 Vienna Metro LLC v. Pulte Home Corp., Case No. 1:10-cv-00502 at 12 (E.D. Va. August 24,

 2011) (order granting motion for attorneys’ fees and costs). The Vienna Metro Matrix was first

 adopted by the U.S. District Court for the Eastern District of Virginia in the Vienna Metro case

 and subsequently adopted in Tech Systems, Inc. v. Pyles, Case No. 1:12-cv-00374 and Taylor v.

 Republic Services, Inc., et al., Case No. 1:12-cv-00523. Clearly, the hourly rates requested by

 both Mr. Marion and Mr. Corrie fall well within these ranges of hourly rates. Mr. Marion, an

 attorney with approximately six years of experience in litigation, is requesting an hourly billing

 rate of $400. (Marion Dec. ¶ 4.) Mr. Marion’s experience in patent work, and particularly patent

 litigation supports the billing rate of $400 per hour, and is well within the range of $350-600 for

 attorneys with 4-7 years of experience provided by the Vienna Metro Matrix.

          Mr. Corrie, an attorney with approximately forty years of experience, is requesting an

 hourly billing rate of $300, which is lower than the range of $505-820 for attorneys with 20 or

 more years of experience provided by the Vienna Metro Matrix. (Corrie Dec. ¶ 4.) As explained

 in his declaration, Mr. Corrie’s hourly billing rate is usually $500. However, for this matter, in an


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 effort to incentivize the client and BSKB to have Mr. Corrie more involved in this litigation, Mr.

 Corrie offered to reduce his billing rate by 40%. Therefore, Mr. Corrie’s billing rate on this

 motion was $300 per hour. (Corrie Dec. ¶ 5.)

        The Vienna Metro Matrix provides unbiased, external evidence of the requested fees’

 reasonableness, and this data has been adopted multiple times by the U.S. District Court for the

 Eastern District of Virginia. Furthermore, this Vienna Metro Matrix contains data from 2011;

 the ranges of hourly rates for complex litigation attorneys in Northern Virginia would be even

 higher in 2014 than the ranges listed for 2011. The hourly rates requested by Mr. Marion and Mr.

 Corrie are reasonable for civil litigation in the Eastern District of Virginia, particularly in

 complex patent litigation.

        Lastly, IVS submits the Declaration of Gregory N. Stillman, an attorney with the law

 firm of Hunton & Williams. Mr. Stillman is familiar with the skills of the fee applicants, the

 firm of Birch, Stewart, Kolasch & Birch (BSKB), and the general practice of civil litigation in

 the Eastern District of Virginia, including patent litigation. (Stillman Dec.) The Robinson Court

 noted that it had previously held affidavits of other local lawyers who are familiar with the skills

 of the fee applicants and more generally with the type of work in the relevant community to be

 sufficient support for the prevailing market rates. Robinson, 560 F.3d at 245. Mr. Stillman’s

 Declaration provides the unbiased, external evidence of the requested fees’ reasonableness that

 Robinson requires to meet factor 5, customary fee for like work.

 Factor 9: Experience, Reputation and Abilities of the Attorneys

        Factor 9 of the Robinson factors includes an explanation of the experience, reputation and

 ability of the attorneys seeking to recover the fees. To sufficiently support Robinson factor 9,

 IVS submits the Declarations of Mr. Marion, Mr. Corrie and Mr. Stillman. The Declarations of



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 Mr. Marion and Mr. Corrie attest to each attorney’s respective experience in civil litigation,

 particularly concerning civil litigation (including patent litigation) in the Eastern District of

 Virginia. (Marion Dec. ¶ 3; Corrie Dec. ¶ 3.) The Declaration of Mr. Stillman, an attorney

 unaffiliated with the law firm of BSKB, provides an unbiased and external evaluation of the legal

 skills, reputation and abilities of the fee applicants, the reputation of BSKB, and civil litigation in

 the Commonwealth of Virginia, particularly patent litigation. (Stillman Dec.)

         The Vienna Metro Court found this ninth factor to be satisfied when “Plaintiff’s head

 litigators have a combined experience of over forty years handling complex real estate

 litigation.” Vienna Metro, Case No. 1:10-cv-00502 at 15 (order granting motion for attorneys’

 fees and costs). Mr. Corrie and Mr. Marion have a combined experience of almost fifty years

 handling civil litigation, including extensive combined experience litigating in Northern Virginia

 and litigating complex patent cases. Moreover, the Declaration of Mr. Stillman attests to the

 reputation of the fee applicants and the law firm of BSKB, as well as the ability of the fee

 applicants and BSKB to handle these types of cases. Therefore, the Declarations of Mr. Marion,

 Mr. Corrie and Mr. Stillman are sufficient to meet the Robinson factor of experience, reputation

 and abilities of the attorneys.

 Factor 12: Attorneys’ Fees Awards in Similar Cases

         In this Court’s July 29, 2014 Order, the Court’s reasons finding this factor deficient recite

 the same requirements needed to satisfy Robinson factor 5, customary fee for like work.

 Therefore, the Declarations of Mr. Marion, Mr. Corrie, Mr. Stillman and the Vienna Metro

 Matrix data submitted above is sufficient to satisfy factor 12, as well as factor 5.

         The number of hours the fee applicants are requesting to prepare this Motion to Compel

 is also reasonable, in light of the circumstances created by Microsoft concerning the preparation



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 of this Motion to Compel. Mr. Marion and Mr. Corrie spent more hours preparing this Motion to

 Compel than is typically required to prepare a motion to compel, and this increased number of

 hours is fair and reasonable under the circumstances directly caused by Defendant Microsoft’s

 actions during discovery. These actions by Microsoft are laid out in the following paragraphs.

        IVS was essentially required to prepare the motion to compel two times since Microsoft

 supplemented its discovery after IVS filed its Motion to Compel, requiring IVS to further justify

 its Motion to Compel. Although Microsoft supplemented its discovery after IVS filed its Motion

 to Compel, this supplemented discovery was still not sufficient. IVS was required to make this

 determination by examining the supplemented production to confirm that the supplemented

 discovery was still insufficient to respond to IVS’s discovery request.

        Furthermore, IVS was required to explain to the Court why Microsoft’s supplemented

 discovery was still not sufficient by specifically referencing a number of production documents.

 Microsoft’s late discovery production required IVS to specifically lay out why its Motion to

 Compel was still required, and this additional explanation required more hours of preparation

 time from Mr. Marion and Mr. Corrie. Therefore, the two fee applicants were required to spend

 more time preparing and justifying IVS’s Motion to Compel due to Microsoft’s late (and still

 insufficient, as evidenced by the Court’s granting of IVS’s Motion to Compel) discovery

 production.

        Unlike other cases where efforts have been found to be excessive or duplicative, see e.g.

 Biotechpharma, LLC v. W.H.P.M., Inc., et al., 2012 WL 253090 (E.D. Va. 2012) (finding efforts

 duplicative when five attorneys each billed a significant number of hours to prepare one motion

 to compel), only two attorneys are requesting fees concerning the preparation of this Motion to

 Compel. The fee applicants are not requesting hours that are inflated, excessive or redundant, as



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 evidenced by the minimal staffing by BSKB on this motion and the lack of overlap on the work

 performed by the attorneys.

        Additionally, Microsoft’s late and insufficient supplemental production required IVS to

 spend additional hours justifying its ultimately successful Motion to Compel, in light of this

 production. The attorney fees associated with drafting the motion to compel with supporting

 declaration and arguing the motion to compel constituted less than half of the costs associated

 with the motion ($8,774.00). The majority of the remaining costs were incurred due to extensive

 document research necessary to refute the sufficiency of Microsoft’s late supplementation of its

 interrogatory response (approximately $11,000 of the remaining costs). Microsoft’s document

 production included millions of pages of documents, which required substantial attorney time to

 review and select documents to refute Microsoft’s assertion that it has fully answered

 Interrogatory No. 10. Additionally, time was spent on multiple correspondence with Microsoft

 counsel attempting to schedule a date for oral argument on the motion, since Microsoft refused to

 make any of its counsel available for over a month after briefing was complete.

         Therefore, the number of hours requested by Mr. Marion and Mr. Corrie in preparation

 of this Motion to Compel is reasonable in light of the circumstances created by Defendant

 Microsoft Corporation.


 Dated: August 13, 2014                Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on the 13th day of August 2014, a true and correct

 copy of the foregoing document was served via the Court’s ECF system to the counsel listed

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